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10
                                  IN THE UNITED STATES DISTRICT COURT
11
                                     EASTERN DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,                            CASE NO. 2:20-CR-134 JAM

14                                 Plaintiff,             GOVERNMENT’S RESPONSE TO REQUEST FOR
                                                          SANCTIONS IN DEFENDANT’S TRIAL BRIEF
15                           v.

16   TANG JUAN,
       (a.k.a. Juan Tang,
17
                                  Defendant.
18

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20          On July 19, 2021, the defendant filed her trial brief, in which she suggested – but did not

21 specifically move for – sanctions, including dismissal of the indictment, based on the government’s

22 disclosure of documents that are allegedly subject to Brady v. Maryland, 373 U.S. 83 (1963). To the

23 extent the Court construes the defendant’s trial brief as a motion for sanctions including dismissal, the

24 government respectfully submits this response. Because the defendant did not file a formal motion, and

25 because the relevant portion of her trial brief contains no legal authorities related to dismissal, the

26 government requests the opportunity to file more fulsome briefing with supporting documents should

27 such filing become necessary.

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 1                                           I.      ARGUMENT

 2          A.     Defendant’s Rule 12(b) Motion is a Purely Legal Question Unaffected by the
                   Government’s Disclosure of the Analysts’ Documents.
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 4          The defendant’s primary allegation in the trial brief appears to be that the government

 5 deliberately delayed production of draft documents by FBI analysts referred to as Exhibits A and B in

 6 defendant’s trial brief, which she characterizes as material subject to Brady v. Maryland, 373 U.S. 83
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 7 (1963). See ECF No. 195.

 8          As a threshold matter, the draft documents themselves constitute inadmissible hearsay. They are

 9 preliminary in nature, misapprehend certain facts, contain multiple layers of hearsay and inadmissible

10 opinions, and in some instances refer to information that is cumulative of what has been previously
                            2
11 disclosed to the defense. See Exhibit 1 (Field 302) and Exhibit 2 (Yeon-Vogelheim 302). As such,

12 they do not squarely fall within the ambit of Brady. See United States v. Kennedy, 890 F.2d 1056, 1059

13 (9th Cir. 1989) (noting that to be material under Brady, undisclosed information or evidence acquired

14 through that information must be admissible); United States v. Sarno, 73 F.3d 1470, 1505 (9th Cir.

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             The government contests the allegations of deliberate delay or suppression. The documents
16 referred to by the defendant as “Exhibits A and B” in her trial brief are draft documents created by FBI
   intelligence analysts who were not part of the investigative team. See Exhibit 1 (Field 302) and Exhibit
17 2 (Yeon-Vogelheim 302). As soon as the attorneys of record became aware of these documents, they
   immediately began to investigate and attempt to understand the genesis of these preliminary,
18 unapproved draft documents. See generally United States v. Agurs, 427 U.S. 97, 109 n.16 (1976)
   (noting that the prosecution need not disclose “preliminary, challenged, or speculative information”).
19 After determining that they were indeed preliminary, incomplete, unapproved and unadopted draft
   documents containing misapprehensions about the facts of this case and related cases, the attorneys in
20 this case nonetheless undertook diligent efforts to determine how these documents could be produced to
   the defense in an expeditious and responsible manner pursuant to the DOJ’s expansive discovery policy.
21 See JM 9-5.001 (policy exceeding constitutional obligations). This effort proved extremely challenging
   as the documents drew on and contained classified information that prevented immediate disclosure.
22 Consequently, the efforts had to be coordinated through attorneys with the Department of Justice’s
   Counterintelligence and Export Control Section with certain members of the U.S. Intelligence
23 Community (“USIC”). The analysts who drafted the documents were interviewed so that explanatory
   reports could accompany the disclosures, which standing alone lack context, including the fact that they
24 were preliminary, incomplete, unapproved, and unadopted drafts. See Exhibits 1 and 2. The
   government was finally able to produce these documents and the analysts’ interview statements to the
25 defense on July 7, 2021. The government produced an additional set of some of the draft documents on
   July 16, 2021,which disclosed additional information that was redacted in the prior set of produced
26 documents.
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27           The government previously made available to the defense discovery from another district’s
   case which contained information about the experts believed to be cited in the disclosed documents.
28 The government recently provided additional, related discovery in a timely fashion.

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 1 1995) (holding that non-disclosure of a witness’s opinion that lacked proper foundation did not violate

 2 Brady because it was inadmissible under Rule 701); United States v. Kohring, 637 F.3d 895, 908 (9th

 3 Cir. 2011) (noting that newly-disclosed information also has to be more than “merely cumulative” to be

 4 material under Brady/Giglio).

 5          Even assuming that the documents constitute Brady, the defendant cannot, as a matter of law,

 6 show that the timing of the disclosures undermined her ability to prevail on her Rule 12(b) motion, let

 7 alone that the case should now be dismissed. The defendant’s Rule 12(b) motion argued that the

 8 indictment should be dismissed because the question, “have you served in the military,” on the Non-

 9 Immigrant Visa application is fundamentally ambiguous. As this Court previously ruled, there is no

10 fatal or fundamental ambiguity in the visa fraud question, and it is for the jury to decide “which

11 construction the defendant placed on the question.” ECF 154 (citing United States v. Culliton, 328 F.3d

12 1074, 1078 (9th Cir. 2003)). The fact that the disclosed documents apparently parrot others’

13 inadmissible hearsay opinions about the Chinese military and the visa application has no bearing on the

14 defendant’s own state of mind at the time of the alleged crime in this case. That is a question for the

15 jury to decide. Indeed, no amount of evidence or expert opinion testimony appended to defendant’s

16 Rule 12(b) motion would change the fact that it is the jury – and not the Court – that must decide what

17 construction the defendant gave to the question at issue in this case. See United States v. Nukida, 8 F.3d

18 665, 669-70 (9th Cir. 1993); United States v. Phillips, 367 F.3d 846, 855 n.25 (9th Cir. 2004). To grant

19 the Rule 12(b) motion either when it was filed or now would usurp the role of the jury. Accordingly, the

20 defendant’s Brady claims with respect to the Rule 12(b) motion fail as a matter of law.
21          B.      The Timing of the Disclosures Is Not Otherwise Prejudicial.
22          The defendant also appears to assert that she will attempt to use the disclosed documents at trial

23 to bolster her defense theory, either through cross-examination of the government’s witnesses or

24 otherwise. However, even assuming the documents constitute Brady material, she fails to allege how

25 the timing of their disclosure has prejudiced her ability to use them in the way she proposes.

26          Disclosure of Brady material must “be made at a time when disclosure would be of value to the

27 accused.” United States v. Gordon, 844 F.2d 1397, 1403 (9th Cir.1988) (quoting United States v.

28 Davenport, 753 F.2d 1460, 1462 (9th Cir.1985)). Due process only requires that the material be

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 1 disclosed at a time when the defendant may still make effective use of it. See United States v. Houston,

 2 648 F.3d 806, 813 (9th Cir. 2011).

 3          Here, assuming the Court would overrule the government’s objection to the admissibility of the

 4 documents and their contents, disclosure more than two weeks prior to trial is sufficient time to make

 5 use of them and defendant has not alleged otherwise. See id. at 813 (finding no Brady violation where

 6 notes of interview were turned over during trial but while cross-examination was ongoing); United

 7 States v. Vgeri, 51 F.3d 876, 880 (9th Cir.1995) (impeaching evidence disclosed during trial was still

 8 valuable because the defense could use it on cross-examination).

 9          There is no basis for finding a Brady violation in this scenario and sanctions are thus

10 inappropriate.

11          C.      Defendant Has Failed to Establish that Sanctions Are Appropriate.
12          The defendant has failed to establish any sanctionable conduct, let alone that dismissal is

13 justified. “Dismissal of an indictment with prejudice is the most severe sanction possible.” United

14 States v. Isgro, 974 F.2d 1091, 1096 (9th Cir. 1992). “Because it is a drastic step, dismissing an

15 indictment is a disfavored remedy.” United States v. Rogers, 751 F.2d 1074, 1076–77 (9th Cir.1985).

16 Indeed, dismissal is appropriate only as a last resort, where no other remedy would cure prejudice

17 against a defendant. See Bank of Nova Scotia v. United States, 487 U.S. 250, 263 (1988) (holding that

18 district court had no authority to dismiss where lesser remedy was available related to errors in grand

19 jury proceedings). To justify dismissal of an indictment under Brady, Government conduct must be “so

20 grossly shocking and so outrageous as to violate the universal sense of justice.” United States v.
21 Restrepo, 930 F.2d 705, 712 (9th Cir.1991). Even though the Ninth Circuit has recognized that

22 dismissal with prejudice may be an appropriate remedy for a Brady or Giglio violation using a court’s

23 supervisory powers, it requires that the defendant establish prejudice and that the prosecutorial

24 misconduct is flagrant. United States v. Struckman, 611 F.3d 560, 577 (9th Cir. 2010).

25          To the extent the defendant can establish that her ability to use the disclosed information to

26 prepare for trial has been substantially prejudiced, she must still show that no lesser remedial action is

27 available. United States v. Chapman, 524 F.3d 1073, 1087 (9th Cir. 2008). Here, even assuming that

28 violations occurred, the Court could remedy them by allowing her to renew her Rule 12(b) motion using

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 1 the disclosed documents as exhibits, or it could grant a brief continuance to allow her more time to use

 2 the disclosures in her preparation for trial. See United States v. O’Hara, 301 F.3d 563, 569 (7th

 3 Cir.2002) (holding that “[d]elayed disclosure of evidence does not in and of itself constitute a Brady

 4 violation” and “continuance is the proper remedy for delayed disclosure of Brady material”); United

 5 States v. Collins, 415 F.3d 304, 311 (4th Cir. 2005) (continuance is preferable to motion to dismiss as

 6 remedy for late disclosure). Cf. also United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010)

 7 (upholding continuance granted over defendant’s objection in light of, among other things, voluminous

 8 discovery); United States v. Dota, 33 F.3d 1179, 1183-84 (9th Cir. 1994) (upholding continuance

 9 granted over defendant’s objection where, although the case was not “complex,” “preparation of the

10 factual record was unusually complicated and required additional time”).

11          If the Court determines that defendant has been prejudiced in her ability to prepare for trial, a

12 brief continuance is the appropriate remedy. Dismissal is not justified on the law or the facts.

13          D.      The Other Requested Remedies.
14          In addition to dismissal, the defendant also appears to request an “evidentiary sanction which

15 will enable the defense to make use of the information” at trial. ECF 195, at 9:7-10.

16          With this request, the defendant appears to concede the inadmissibility of the documents and

17 their contents. The defendant cites no case law allowing for the suspension of the Federal Rules of

18 Evidence as an appropriate sanction for an alleged discovery violation. Because the Federal Rules of

19 Evidence govern the admission of evidence at trial, the Court should exclude these documents and any

20 testimony regarding them as irrelevant hearsay, and as unduly prejudicial under Rule 403 given the risk
21 that testimony regarding their contents will confuse the jury with mini-trials over the inaccuracies and

22 layers of hearsay contained therein.

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 1                                          II.      CONCLUSION

 2          The defendant has failed to establish any sanctionable conduct, or that dismissal or any other

 3 sanction is appropriate for the government’s timely disclosure of the documents at issue. If the Court

 4 ultimately determines that the defendant has been prejudiced in her ability to prepare for trial, it should

 5 order a brief continuance as the appropriate remedy.

 6

 7   Dated: July 21, 2021                                    PHILLIP A. TALBERT
                                                             Acting United States Attorney
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 9                                                    By: /s/ Heiko P. Coppola
                                                          HEIKO P. COPPOLA
10                                                        Assistant United States Attorney

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